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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 18-cv-00953-GPG

BRANDON MAURICE FORD,

       Plaintiff,

v.

JEFFERSON COUNTY SHERIFF’S OFFICE,
INMATE SERVICES,
SHERIFF JEFFERSON COUNTY, and
COUNTY OF GOLDEN, COLORADO,

       Defendants.


                                 ORDER OF DISMISSAL


       Plaintiff Brandon Maurice Ford currently is detained at the Jefferson County

Detention Facility in Golden, Colorado. Plaintiff initiated this action by filing pro se a

Prisoner Complaint, ECF No. 1, and a Prisoner’s Motion and Affidavit for Leave to

Proceed Pursuant to 28 U.S.C. § 1915 in a Habeas Corpus Action, ECF No. 3. On April

24, 2018, Magistrate Judge Gordon P. Gallagher instructed Plaintiff to cure certain

deficiencies before proceeding in this Court with this action.

       Specifically, Magistrate Judge Gallagher ordered Plaintiff to submit a Prisoner’s

Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915 that is used when

pursuing a prisoner complaint action. ECF No. 4 at 2. Plaintiff also was instructed to

submit a certified trust fund account statement for the six-month period immediately

preceding the filing of this action and to provide an authorization to calculate and disburse




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filing fee payments. Id. Plaintiff was warned that the action would be dismissed without

further notice if he failed to cure the deficiencies within thirty days.

       On May 3, 2018, rather than comply with Magistrate Judge Gallagher=s April 24,

2018 Order to file a § 1915 Motion and Affidavit that is used when filing a prisoner

complaint, Plaintiff filed two Prisoner’s Motions and Affidavits for Leave to Proceed

Pursuant to 28 U.S.C. § 1915 in a Habeas Corpus Action. See ECF Nos. 7 and 8.

Plaintiff also filed a Motion to Amend and Modify Original Complaint under Rule #15, ECF

No. 5, a Motion for Change of Venue, ECF No. 6, and a Motion to Waive Filing Fee, ECF

No. 9. On May 14, 2018, Plaintiff filed a Motion to Dismiss/Set Aside Original Motion for

Change and Venue, ECF No. 11. Subsequently, on May 18, 2018, Plaintiff submitted a

Petition for Mandatory Protection Order Pursuant to § 18-1-101, ECF No. 12, and a

Motion/Petition in Request to Appoint Legal Counsel, ECF No. 13. Finally on May 25,

2018, Plaintiff filed a Motion to Add/Amend and Modify Original Complaint Under Rule 15,

ECF No. 14, and a Petition for Documentation and Copies of all Complaints and

Summaries Filed, ECF No. 15.

       Magistrate Judge Gallagher clearly directed Plaintiff to submit a Prisoner’s Motion

and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915, which includes an

authorization to calculate and disburse filing fee payments. Plaintiff has now failed to

comply with this directive within the time allowed. Plaintiff also has continued to file

unnecessary requests, which border on being an abuse of the judicial process. The

Court, therefore, will dismiss the action for failure to cure deficiencies within the time

allowed. Accordingly, it is




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       ORDERED that this action is dismissed without prejudice pursuant to Fed. R. Civ.

P. 41(b) for failure to comply with the April 24, 2018 Order, within the time allowed, and for

failure to prosecute. It is

       FURTHER ORDERED that leave to proceed in forma pauperis on appeal is

denied. It is

       FURTHER ORDERED that all pending motions are denied as moot.

       DATED at Denver, Colorado, this       1st    day of      June            , 2018.

                                                   BY THE COURT:

                                                    s/Lewis T. Babcock
                                                   LEWIS T. BABCOCK, Senior Judge
                                                   United States District Court




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